 Case 19-00146-pmm             Doc 5-3 Filed 09/05/19 Entered 09/05/19 15:31:11             Desc
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12021689



                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                             )       Misc. No. __________
                                                    )
 HUDSON PALMER HOMES, INC. f/k/a                    )       Chapter 7
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                  Debtor.           )       Bankruptcy Case No. 18-17509 (JKF)
                                                    )
                                                    )
                                                    )
                                                    )
 NAVIGATORS SPECIALTY INSURANCE                     )
 COMPANY,                                           )
                                                    )
                                  Plaintiff,        )       Adv. Pro. No. 19-00146 (JKF)
                                                    )
                          v.                        )
                                                    )
 HUDSON PALMER HOMES, INC., f/k/a                   )
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                  Defendant.        )

                                   CERTIFICATE OF SERVICE

           I, Julian E. Neiser, hereby certify that on September __, 2019, I have caused this hereby
certify that the Motion of Navigators Specialty Insurance Company for Withdrawal of
Reference and Brief in Support was electronically filed on this date; it is available for viewing
and downloading on the Court’s CM/ECF system; and it has been served on the following via the
Court’s CM/ECF system:
 Gary F. Seitz                                      George M. Conway
 Gellert Scali Busenkell & Brown LLC                United States Trustee
 8 Penn Center                                      833 Chestnut Street, Suite 500
 1628 John F. Kennedy Blvd., Suite 1901             Philadelphia, PA 19107
 Philadelphia, PA 19103                             Email: george.m.conway@usdoj.gov
 Email: gseitz@gsbblaw.com

                                                    SPILMAN THOMAS & BATTLE, PLLC

                                                    /s/ Julian E. Neiser
